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                     Exhibit A
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   MATTHEW J. MURRAY – SBN 271461
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 9                                  UNITED STATES DISTRICT COURT

10                                 EASTERN DISTRICT OF CALIFORNIA

11

12 Isaac Newman,                                            CASE NO. 2:24-cv-01487-WBS-SCR

13                          Plaintiff,                      DEFENDANT ELK GROVE EDUCATION
                                                            ASSOCIATION’S RULE 68 OFFER OF
14          vs.                                             JUDGMENT TO PLAINTIFF ISAAC
                                                            NEWMAN
15
     Elk Grove Education Association,
16

17
                             Defendant,
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20
            Without admitting fault, defendant Elk Grove Education Association hereby offers, pursuant
21
     to Fed. R. Civ. P. 68, to allow judgment to be entered against it and in favor of plaintiff Isaac
22
     Newman in the sum of $12,000 (twelve thousand dollars) plus costs accrued as of the date of this
23
     offer, such costs to include reasonable attorneys’ fees accrued as of the date of this offer under 42
24
     U.S.C. § 2000e-5(k), Cal. Gov’t Code § 12965(c)(6), and Cal. Civ. Proc. Code § 1033.5(c)(5)(A).
25
            Pursuant to Fed. R. Civ. P. 68, this offer will be considered withdrawn if it is not accepted in
26
     writing within 14 days after being served.
27

28
                                                   -1-
                             DEFENDANT'S FED. R. CIV. P. 68 OFFER OF JUDGMENT
     Case 2:24-cv-01487-WBS-SCR Document 18-1 Filed 09/05/24 Page 3 of 3


 1

 2 Dated: August 26, 2024                   Respectfully submitted,
 3
                                            ALTSHULER BERZON LLP
 4                                          Stacey M. Leyton
                                            Matthew J. Murray
 5                                          Emanuel Waddell

 6
                                           By: /s/ Emanuel Waddell
 7                                         Attorneys for Defendant

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                        DEFENDANT'S FED. R. CIV. P. 68 OFFER OF JUDGMENT
